18-13359-shl       Doc 122        Filed 11/20/18        Entered 11/20/18 12:04:45                Main Document
                                                       Pg 1 of 8


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                             :
                                                                   :         Chapter 11
REPUBLIC METALS REFINING                                           :         Case No. 18-13359 (SHL)
CORPORATION, et al., 1                                             :
                                                                   :         (Jointly Administered)
                                    Debtors.                       :
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CORNERSTONE ASSET METALS, LLC,                                     :
                                                                   :
                                    Plaintiff,                     :        Adv. Pro. No. 18-_________
                                                                   :
                  - against -                                      :
                                                                   :
REPUBLIC METALS REFINING CORPORATION, :
REPUBLIC METALS CORPORATION, REPUBLIC :
CARBON COMPANY, LLC, COÖPERATIEVE                                  :
RABOBANK U.A., NEW YORK BRANCH,                                    :
BROWN BROTHERS HARRIMAN & CO.,                                     :
BANK HAPOALIM B.M., MITSUBISHI                                     :
INTERNATIONAL CORPORATION, ICBC                                    :
STANDARD BANK PLC, TECHEMET METAL                                  :
TRADING LLC, WOODFOREST NATIONAL                                   :
BANK, and BANK LEUMI USA                                           :
                                                                   :
                                    Defendants.                    :
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              COMPLAINT (I) FOR DECLARATORY JUDGMENT, (II) TO
              DETERMINE EXTENT OF LIENS GRANTED TO SECURED
           PARTIES, AND (III) FOR IMPOSITION OF CONSTRUCTIVE TRUST



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York,
    NY 10036 (3194), Republic Metals Corporation, 12900 N.W. 38th Avenue, Miami, FL 33054 (4378), and Re-
    public Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833).


{00021634v3 }
18-13359-shl     Doc 122      Filed 11/20/18     Entered 11/20/18 12:04:45         Main Document
                                                Pg 2 of 8


                Cornerstone Asset Metals, LLC, as plaintiff (“Cornerstone” or the “Plaintiff”), as

and for its complaint against Republic Metals Refining Corporation, Republic Metals Corpora-

tion and Republic Carbon Company, LLC (the “Debtors”), and Coöperatieve Rabobank U.A.,

New York Branch, Brown Brothers Harriman & Co., Bank Hapoalim B.M., Mitsubishi Interna-

tional Corporation, ICBC Standard Bank PLC, Techemet Metal Trading LLC, Woodforest Na-

tional Bank, and Bank Leumi USA (the “Secured Parties” and together with the Debtors, the

“Defendants”) alleges the following upon knowledge as to its own acts and otherwise upon in-

formation and belief:

                                         INTRODUCTION

                1.      Plaintiff brings this action (i) pursuant to Rule 7001(9) of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for a declaratory judgment that unpro-

cessed and finished silver in the Debtors’ possession is the property of Cornerstone and is not

property of the estate pursuant to 11 U.S.C. § 541(a), (ii) pursuant to Bankruptcy Rule 7001(9)

and 11 U.S.C. § 506(a)(1), for a declaratory judgment that Cornerstone’s Finished Silver and Un-

finished Silver (as defined below) is not part of the Secured Parties’ Collateral (as defined in the

Interim Cash Collateral Order below) and that the liens granted to the Secured Parties under the

Interim Cash Collateral Order do not extend to the Finished Silver and Unfinished Silver, and

(iii) for the imposition of a constructive trust.

                                           THE PARTIES

                2.      On November 2, 2018 (the “Filing Date”), the Debtors filed voluntary pe-

titions for relief under chapter 11 of the Bankruptcy Code, 11 U.S.C. § 101 et al. (the “Bankrupt-

cy Code”). The Debtors remain in possession of their assets and manage their businesses as

debtors in possession pursuant to §§ 1107 and 1108 of the Bankruptcy Code.



{00021634v3 }                                       2
18-13359-shl         Doc 122   Filed 11/20/18    Entered 11/20/18 12:04:45         Main Document
                                                Pg 3 of 8


                3.       A statutory committee of unsecured creditors was appointed on November

19, 2018. No trustee has been appointed.

                4.       Cornerstone is a customer of Republic Metals Company (“RMC”) and a

party in interest.

                5.       Each of the Secured Parties is party to a credit agreement, master netting

agreement or lease agreement with RMC entered into prior to the Filing Date. Each of the Se-

cured Parties has consented to the Debtors’ use of cash collateral and is subject to the Interim

Order Pursuant To 11 U.S.C. §§ 105, 361, 362, 363, 503 And 507 (I) Authorizing The Debtors

To Use Cash Collateral, (II) Granting Adequate Protection To The Secured Parties, (III) Sched-

uling A Final Hearing And (IV) Granting Related Relief (the “Interim Cash Collateral Order”)

[doc. 54] entered on November 8, 2018.

                                  JURISDICTION AND VENUE

                6.       This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334.

                7.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                8.       This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). If any of the

claims asserted in this adversary proceeding are determined to be non-core, Plaintiff consents to

the entry of final judgment by the Bankruptcy Court.

                                   GENERAL ALLEGATIONS

                9.       Cornerstone is a primary precious metals dealer servicing clients with cus-

tom minted finished products through the buying, selling and refining of precious metals through

RMC.

                10.      Cornerstone and RMC are parties to the Republic Metals Corporation

Standard Terms and General Operating Conditions (the “Standard Terms and Conditions”) dat-

ed April 6, 2014.
{00021634v3 }                                      3
18-13359-shl       Doc 122       Filed 11/20/18      Entered 11/20/18 12:04:45               Main Document
                                                    Pg 4 of 8


                 11.      Cornerstone buys old silver from customers doing distributions from their

Precious Metal IRAs. Cornerstone sends the silver to RMC for assay and confirmation of purity.

After assay, RMC either manufactures and delivers finished product to Cornerstone, or deposits

the silver into a pool account (the “Pool Account”) while awaiting instructions from Cornerstone

to refine and deliver finished product. A pool account is a ledger account representing the

amount of returnable metal owed to the customer (if the account reflects a positive balance), or

the amount of metal owed to RMC (if the account reflects a negative balance). At all times, met-

al in the Pool Account belongs to RMC’s customers, and is not RMC’s property.

                 12.      Cornerstone also sells finished product to its customers for investment.

Cornerstone subcontracts with RMC to mint the Unfinished Silver into Finished Silver. RMC

ships the Finished Silver directly to Cornerstone’s customers, or to Cornerstone’s account at

Delaware Depository Servicing Company (“DDSC”) for fulfillment. 2

                                 FIRST CLAIM FOR RELIEF
                  (Declaratory Judgment Pursuant to Bankruptcy Rule 7001(9)
                      That Certain Property is Not Property of the Estate)

                 13.      Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                 14.      Prior to the Filing Date, Cornerstone purchased refined finished silver (the

“Finished Silver”) from RMC consisting of (a) 1,150 10 oz. silver minted bars (11,500 silver

ounces 31.1 grams each ounce total) (the “Bars”); and (b) 3,000 silver 1 oz. minted coins (the

“Coins”).

                 15.      RMC issued invoices for the Bars and the Coins.




2
    Cornerstone stores metals with DDSC for business use as well as a distribution point for IRA fulfillment. Most
    IRA custodians use DDSC for vault storage of precious metals.

{00021634v3 }                                           4
18-13359-shl     Doc 122        Filed 11/20/18    Entered 11/20/18 12:04:45        Main Document
                                                 Pg 5 of 8


                16.       RMC advised its customers including Cornerstone in writing that if a cus-

tomer paid in full for refined metals prior to November 2, 2018, then RMC would ship the re-

fined metals to the customer.

                17.       Cornerstone paid in full for the Finished Silver prior to November 2, 2018.

                18.       The Coins are imprinted with Cornerstone’s name.

                19.       RMC acknowledged prior to the Filing Date that Cornerstone is the owner

of the Finished Silver.

                20.       RMC initiated shipment via UPS of the Finished Silver, with delivery

scheduled for October 25, 2018. As a result of the Debtors’ decision to file for chapter 11 relief,

the shipment was stopped and the Finished Silver was never delivered.

                21.       The Finished Silver is in RMC’s possession.

                22.       In addition to the Finished Silver, Cornerstone is the owner of 15,756.432

oz. of unfinished silver (the “Unfinished Silver”) that is or should be in RMC’s possession.

                23.       The Unfinished Silver consists of (a) 10,892 oz. in the Pool Account (the

“Pool Account Silver”); and (b) 4,864.432 oz. delivered to RMC prior to the Filing Date for as-

say (the “Assayed Silver”). RMC completed the assay of the 4,864.432 oz. of silver, which upon

information and belief has not yet been deposited into the Pool Account.

                24.       The Standard Terms and Conditions provide, in the section entitled “In-

surance, Delivery, Weighing, and Sampling,” that “[r]isk of loss of material will pass from Cus-

tomer to RMC upon delivery to and acceptance at RMC’s refinery, unless otherwise agreed.

Upon receipt by RMC of metal sent by Customer for refining and acceptance by RMC, RMC

shall bear the responsibility of insurance for loss or damage to such metal while at RMC.” (Em-

phasis added). RMC acknowledged receipt and Cornerstone’s ownership of the Assayed Silver



{00021634v3 }                                      5
18-13359-shl     Doc 122     Filed 11/20/18     Entered 11/20/18 12:04:45          Main Document
                                               Pg 6 of 8


delivered to RMC, for which RMC bears the risk of loss as of the date of delivery and ac-

ceptance.

                25.    Based upon the foregoing, Cornerstone is entitled to a declaratory judg-

ment that the Finished Silver and the Unfinished Silver, both in RMC’s possession, are property

of Cornerstone and not property of the estate pursuant to § 541(a) of the Bankruptcy Code.

                               SECOND CLAIM FOR RELIEF
              (Declaratory Judgment Pursuant to Bankruptcy Rule 7001(9) and
          11 U.S.C. § 506(a)(1) Determining the Extent of the Secured Parties’ Liens)

                26.    Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                27.    Pursuant to ¶ F(i) of the Interim Cash Collateral Order, the Debtors stipu-

lated that the Secured Parties have a lien on substantially all of the Debtors’ assets including in-

ventory and metals.

                28.    Pursuant to ¶ 8(a) of the Interim Cash Collateral Order, the Secured Par-

ties were granted post-petition Adequate Protection Liens on substantially all of the Debtors’

pre- and post-Filing Date assets including inventory and metals.

                29.    Pursuant to ¶ 8(e) of the Interim Cash Collateral Order, the Debtors are re-

quired to liquidate their inventory, including precious metal inventory, in a commercially reason-

able manner pursuant to a timeline as agreed to by and among the Debtors and the Secured Par-

ties and set forth in the Cash Collateral Budget. Proceeds from the sale of the inventory shall be

paid to a segregated deposit account maintained with one of the Secured Parties and retained by

the Secured Parties for application to the Secured Obligations without further Court order.

                30.    Pursuant to ¶ 5(d) of the Interim Cash Collateral Order, the failure of the

Debtors to liquidate 95% of their November 2, 2018 inventory including of finished goods and

raw work-in-progress by December 3, 2018 (unless such period is extended by the Secured Par-
{00021634v3 }                                     6
18-13359-shl     Doc 122      Filed 11/20/18    Entered 11/20/18 12:04:45          Main Document
                                               Pg 7 of 8


ties in their sole discretion) is a Termination Event for the Debtors’ authorization use Cash Col-

lateral.

                31.    Pursuant to ¶ 4(b) of the Interim Cash Collateral Order, parties in interest

have the right to commence an adversary proceeding challenging the validity, extent and priority

of the Secured Parties’ Prepetition Liens (as defined in the Interim Cash Collateral Order).

                32.    Pursuant to § 506(a)(1) of the Bankruptcy Code, “[a]n allowed claim of a

creditor secured by a lien on property in which the estate has an interest, … is a secured claim to

the extent of the value of such creditor’s interest in the estate’s interest in such property …”

                33.    Because the Finished Silver and the Unfinished Silver is the property of

Cornerstone and not property of the estate, Cornerstone is entitled to a declaratory judgment that

the Secured Parties’ Prepetition Liens and Adequate Protection Liens do not extend to the Fin-

ished Silver and the Unfinished Silver, and that the Finished Silver and Unfinished Silver are not

part of the Secured Parties’ collateral.

                34.    Because the Finished Silver and the Unfinished Silver is the property of

Cornerstone and not property of the estate, Cornerstone is entitled to a declaratory judgment that

the Finished Silver and the Unfinished Silver are not inventory or assets of the Debtors that must

be liquidated pursuant to ¶¶ 5(d) and 8(e) of the Interim Cash Collateral Order.

                                  THIRD CLAIM FOR RELIEF
                                      (Constructive Trust)

                35.    Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                36.    Cornerstone transferred and delivered the Unfinished Silver to RMC in re-

liance upon RMC’s promise and undertaking in the Standard Terms and Conditions to return to

Cornerstone metals of like kind representing the ounces of precious metals owed to Cornerstone.

{00021634v3 }                                     7
18-13359-shl     Doc 122     Filed 11/20/18     Entered 11/20/18 12:04:45         Main Document
                                               Pg 8 of 8


                37.    RMC will be unjustly enriched if it fails to return the Unfinished Silver or

15,756.432 oz. silver of like kind.

                38.    As a result of the foregoing, Cornerstone is entitled to a constructive trust

over 10,892 oz. of silver in the Pool Account plus 4,864.432 oz. of silver delivered to RMC for

assay but not deposited in the Pool Account.

                WHEREFORE, the Trustee requests the entry of judgment as follows:

                       (a)     On the first claim for relief, a declaratory judgment that the Fin-
                               ished Silver and Unfinished Silver are the property of Cornerstone
                               and not property of the estate under § 541(a) of the Bankruptcy
                               Code;

                       (b)     On the second claim for relief, a declaratory judgment that the Fin-
                               ished Silver and Unfinished Silver are not part of the Secured Par-
                               ties’ collateral under the Interim Cash Collateral Order and that the
                               Secured Parties’ Prepetition Liens and Adequate Protection Liens
                               do not extend to the Finished Silver and Unfinished Silver;

                       (c)     On the third claim for relief, the imposition of a constructive trust
                               over 10,892 oz. of silver in the Pool Account plus 4,864.432 oz. of
                               silver delivered to RMC for assay;

                       (d)     Costs and attorney fees; and

                       (e)     Such other and further relief as is necessary and proper.


Dated:     New York, New York                  RICH MICHAELSON MAGALIFF, LLP
           November 20, 2018                   Counsel for Cornerstone Asset Metals, LLC
                                               By:

                                               /s/ Howard P. Magaliff
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{00021634v3 }                                    8
